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                  IN THE UNITED STATES DISTRICT COURT
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                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                          Case No. 2:22-mj-2453
     UNITED STATES OF AMERICA,
13                                          ORDER OF DETENTION
                    Plaintiff,
14
                                            [18 U.S.C. §§ 3148(b), 3143(a)]
15
      STEPHEN FANOI WILLIAMS,
16
17                  Defendant.
18
19         On June 23, 2022, Defendant Stephen Fanoi Williams made his initial
20   appearance following his arrest on a bench warrant issued on June 8, 2022,
21   by the United States District Court, Southern District of California. Deputy
22   Federal Public Defender Neha Christerna was appointed to represent
23   Defendant. A detention hearing was held.
24         The Court has reviewed the files and records in this matter, including
25   the report prepared by the U.S. Pretrial Services Agency on June 23, 2022,
26   and its recommendation of detention.
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 1         The Court has considered the allegations of Defendant's noncompliance

 2   with the condition set for pretrial release that he not use marijuana under

 3   any circumstance as alleged in the petition for action on conditions of pretrial

 4   release and warrant for arrest, Defendant's failure to participate in an

 5   outpatient treatment program as required, his arrest in May 2022 while on

 6   pre-trial supervision for driving under the influence, his criminal history

 7 (including a 2016 conviction for second-degree robbery and violation of
 8   parole), and his three failures in 2018 and 2019 to appear for traffic

 9   violations.

10         The Court finds, pursuant to 18 U.S.C.§ 3148(b), clear and convincing

11   evidence that Defendant has violated the conditions of his release. Having

12   considered the factors set forth in 18 U.S.C. §3142(g), the court finds that

13   there is no longer is any condition or combination of conditions of release that

14   will assure that Defendant will not flee or pose a danger to the community or

15   to others if allowed to remain on bail pending future court proceedings.

16         The Court finds that there is now a change in circumstances which

17   justifies reconsideration of the decision to allow Defendant to remain on

18   release. The Court now finds that, under the current circumstances, clear

19   and convincing evidence does not exist to show that Defendant is not likely to

20   flee or pose a danger to the community or to others if allowed to remain on

21   bail. This Order is without prejudice to reconsideration by the District Court

22   in the Southern District of California.

23         It is therefore ORDERED that Defendant Stephen Fanoi Williams is

24   remanded to the custody of the U.S. Marshal to be transported to the United

25   States District Court for the Southern District of California for further

26   proceedings, specifically the scheduled proceeding on July 11, 2022 at 10:30

27   a.m. Both government counsel and counsel for the Defendant are directed to

28   follow up with government counsel in the Southern District of California
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 1    regarding the Defendant's scheduled appearance, and the status of the

 2    Defendant's transportation to, and arrival in, the charging district for the

 3    appearance.

 4          The Defendant will be committed to the custody of the Attorney

 5    General for confinement in a corrections facility separate, to the extent

 6    practicable, from persons awaiting or serving sentences or being held in

 7    custody pending appeal. The Defendant will be afforded reasonable

 8    opportunity for private consultation with counsel. On order of a Court of the

 9    United States or on request of any attorney for the Government, the person

10    in charge of the corrections facility in which the Defendant is confined will

11    deliver the Defendant to a United States Marshal for the purpose of an

12    appearance in connection with a court proceeding. See 18 U.S.C. § 3142(1).

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      Dated: June 23, 2022
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16                                  PATRICIA DONAHUE
                                    UNITED STATES MAGISTRATE JUDGE
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